Case 25-01087-mkn   Doc 6-15   Entered 03/14/25 18:00:41   Page 1 of 6




                     EXHIBIT 15




                     EXHIBIT 15
Case 25-01087-mkn   Doc 6-15   Entered 03/14/25 18:00:41   Page 2 of 6
Case 25-01087-mkn   Doc 6-15   Entered 03/14/25 18:00:41   Page 3 of 6
Case 25-01087-mkn   Doc 6-15   Entered 03/14/25 18:00:41   Page 4 of 6
Case 25-01087-mkn   Doc 6-15   Entered 03/14/25 18:00:41   Page 5 of 6
Case 25-01087-mkn   Doc 6-15   Entered 03/14/25 18:00:41   Page 6 of 6
